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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHER DISTRICT OF ILLINOIS
                                             WESTERN DIVISION
                                                 )
                                                 )
SCOTT PARSONS,                                   )
                                                 )
                Plaintiff,                       )    CASE NO. 18-CV-8506
                                                 )
vs.                                              )
                                                 )
SHENZEN FEST TECHNOLOGY CO., Ltd.,               )
a/k/a Efest power, a/k/a Efest, and Mt. Baker    )
Vapor, LLC, a Limited Liability Company with )
its principle place of business in Mesa, Arizona )
                                                 )
                Defendants.                      )
                                                 )

                                   JOINT INITIAL STATUS REPORT

             1.    The Nature of the Case:

                   A.     Plaintiff’s Counsel
                          Donovan S. Robertson
                          100 17th Street, Suite 405, Rock Island, IL 61201
                          Telephone: 309-788-0471
                          Facsimile: 309-788-0480
                          Email: drobertson@sbrlawfirm.law

                          Defendant, Mt. Baker Vapor’s Counsel
                          David M. Holmes (lead attorney)
                          Christen J. McGlynn
                          55 W. Monroe Street, Suite, 3800, Chicago, IL 6060
                          Telephone: 312-704-0550
                          Email: david.holmes@wilsonelser.com
                                 Christen.mcglynn@wilsonelser.com

                   B.     This is a products liability related to an ecigarrette. Plaintiff alleges that a lithium ion
                          battery that he was using in an ecigarrette caught on fire and burned him.

                   C.      i. Nature and extent of plaintiff’s injury.
                           ii. Scope of the defendant’s liability as distributor of product.

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                           iii. Effect of manufacturer’s status as a Chinese corporation with no known U.S.
                           facilities.

                   D.      Plaintiff seeks money damages to compensate for his injuries.


             2.    Jurisdiction.

                   A.      No basis for federal questions jurisdiction.

                   B.      (1)     The amount in controversy exceeds $75,000.00. Plaintiff’s medical bills
                                   would justify the $75,000.00 threshold.

                           (2)     Scott Parsons is a citizen of the State of Illinois, having been domiciled there
                                   for many years preceding the incident. He is currently domiciled in Illinois, and
                                   has no intention, presently, of removing himself from Illinois.

                                   Mt. Baker Vapor LLC is an Arizona corporation with its principal place of
                                   business/headquarters in Mesa, Arizona. The LLC has two members. One
                                   member is an individual who resides in Arizona and the other is an individual
                                   who resides in California.


             3.    Status of Service.

                   Defendant, Shenzen Technology Co., LTD , a/k/a Efest Power, a/k/a Efest, has not been
                   served, proceedings are pending pursuant to the Hague Convention. The Complaint has been
                   translated into Chinese and is in the process of being served upon the defendant.

             4.    Consent to Proceed Before a United States Magistrate:

                   There is no consent to a United States Magistrate.

             5.    Motions:

                   A.      There are no pending motions.
                   B.      Defendant has responded to the initial complaint.

             6.    Case Plan:

                   A.      The Western Division of the Northern District of Illinois does not participate in the
                           MIDP, therefore, this is not applicable to the instant case.

                           (1) Defendant Mt. Baker Vapor has served Plaintiff with Interrogatories and Requests
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                               to Produce that lists general discovery needed.
                          (2) March 8, 2019
                          (3) Written discovery was issued to Plaintiff on 2/5/19 by Defendant, Mt.
                              Baker Vapor.
                          (4) September 30, 2019
                          (5) December 31, 2019
                          (6) Not applicable.
                          (7) January 30, 2020

                   C.     (1) Jury trial is requested.
                          (2) Estimated length of trial 3-4 days.

             7.    Status of Settlement Discussions:

                   A.     No substantial settlement negotiations have taken place.

                   B.     Not applicable.

                   C.     Parties have not requested a settlement conference.




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